
		
OSCN Found Document:RE SUSPENSION OF CREDENTIALS OF CERTIFIED AND REGISTERED COURTROOM INTERPRETERS

					

				
  



				
					
					
						
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				RE SUSPENSION OF CREDENTIALS OF CERTIFIED AND REGISTERED COURTROOM INTERPRETERS2024 OK 16Decided: 03/11/2024THE SUPREME COURT OF THE STATE OF OKLAHOMA

Cite as: 2024 OK 16, __ P.3d __

				
FOR PUBLICATION IN OBJ ONLY. NOT FOR OFFICIAL PUBLICATION.

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RE: Suspension of Credentials of Certified and Registered Courtroom Interpreters


ORDER


The Oklahoma Board of Examiners of Certified Courtroom Interpreters has recommended to the Supreme Court of the State of Oklahoma the suspension of the credentials of each of the Oklahoma Registered Courtroom Interpreter listed on the attached Exhibit for failure to comply with the annual certificate renewal requirements for 2024.

Pursuant to 20 O.S., Chapter 23, App. II, Rule 18(c), failure to satisfy the annual renewal requirements on or before February 15 shall result in administrative suspension on that date.

IT IS THEREFORE ORDERED that the credentials of each of the interpreters named on the attached Exhibit is hereby suspended effective March 11, 2024.

DONE BY ORDER OF THE SUPREME COURT IN CONFERENCE this 11TH day of MARCH, 2024.


/s/CHIEF JUSTICE


ALL JUSTICES CONCUR


Exhibit A


	
		
			
			Name
			
			
			Reason
			
		
		
			
			Cindy Avila
			
			
			2023 Continuing Education

			and 2024 Renewal Fees
			
		
		
			
			Charles Escalante
			
			
			2023 Continuing Education

			and 2024 Renewal Fees
			
		
		
			
			Jesus Flores
			
			
			2023 Continuing Education

			and 2024 Renewal Fees
			
		
		
			
			Daniela Hernandez
			
			
			2023 Continuing Education and 2024 Renewal Fees
			
		
		
			
			Gisele Jones
			
			
			2023 Continuing Education and 2024 Renewal Fees
			
		
		
			
			Byron Lema
			
			
			2024 Renewal Fees
			
		
		
			
			Cesar Leon
			
			
			2023 Continuing Education
			
		
		
			
			Rosanna Lopez
			
			
			2023 Continuing Education and 2024 Renewal Fees
			
		
		
			
			Juan Martinez
			
			
			2023 Continuing Education and 2024 Renewal Fees
			
		
		
			
			Elvira Miramontes
			
			
			2023 Continuing Education and 2024 Renewal Fees
			
		
		
			
			Valentina Saldana
			
			
			2023 Continuing Education and 2024 Renewal Fees
			
		
		
			
			Alfredo Sampayo
			
			
			2023 Continuing Education
			
		
		
			
			Cynthia Santiesteban
			
			
			2023 Continuing Education and 2024 Renewal Fees
			
		
	






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